USCA Case #24-1151   Document #2079317       Filed: 10/10/2024   Page 1 of 64



                     Oral Argument Not Yet Scheduled

                              NO. 24-1151

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



       UNITED STEEL, PAPER AND FORESTRY, RUBBER,
  MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND SERVICE
        WORKERS INTERNATIONAL UNION, AFL-CIO,

                               Petitioner,

                                   v.

           U.S. ENVIRONMENTAL PROTECTION AGENCY,

                              Respondent.


                    CONSOLIDATED WITH CASES
               NOS. 24-1182, 24-1185, 24-1202, No. 24-1237



    OPENING BRIEF OF PETITIONERS UNITED STEELWORKERS,
      INTERNATIONAL ASSOCIATION OF MACHINISTS AND
                      WORKSAFE, INC.


                                 Randy S. Rabinowitz
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USCA Case #24-1151       Document #2079317           Filed: 10/10/2024   Page 2 of 64



      CERTIFICATE AS TO PARTIES, RULINGS AND RELATED CASES

Parties:

The following entities are parties to these consolidated cases:

Labor Petitioners:

      United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
      Industrial and Service Workers International Union, AFL-CIO (No. 24-1151)

      International Association of Machinists and Aerospace Workers, AFL-CIO
      (No. 24-1182)

      Worksafe, Inc. (No. 24-1202)

Industry Petitioners

      Texas Chemistry Council (No. 24-1185)

      American Chemistry Council (No. 24-1185)

      American Fuel & Petrochemical Manufacturers (No. 24-1237)

      American Petroleum Institute (No. 24-1237)

Respondents

      Environmental Protection Agency

      Michael Regan, Administrator

Intervenor for Industry Petitioners

      Olin Corporation

Intervenors for Respondent

      Alaska Community Action on Toxics
USCA Case #24-1151        Document #2079317          Filed: 10/10/2024   Page 3 of 64




       Sierra Club

Ruling under Review:

       These petitions challenge the Environmental Protection Agency's "Procedures

for Chemical Risk Evaluation under the Toxic Substances Control Act (TSCA),”

published in the Federal Register on May 3, 2024, at 89 Fed. Reg. 37029. The

provision challenged by the Labor Petitioners – codified at 40 C.F.R. § 702.39(f)(2)

– is stated in full in the body of this Brief.

Related Cases:

       Four separate petitions for review were filed challenging this EPA regulation.

Pursuant to 28 U.S.C § 2112, this Court was selected to hear all pending challenges

to the regulation. All petitions challenging the rule, including a fifth, subsequently

filed petition, have been docketed in this Court and consolidated with the lead case,

No. 24-1151. The Petitioners and the case numbers for each petition are indicated

in the section of this document titled "Parties."
USCA Case #24-1151                Document #2079317                       Filed: 10/10/2024            Page 4 of 64



                                        TABLE OF CONTENTS

                                                                                                            Page(s)

 TABLE OF AUTHORITIES… .................................................................................i

 GLOSSARY ........................................................................................................... vi

 INTRODUCTION ................................................................................................... 1

 STATEMENT OF JURISDICTION.......................................................................... 2

 STATEMENT OF ISSUES ....................................................................................... 3

 STATEMENT OF THE CASE ................................................................................. 3

    I.    Relevant Statutory Provisions ....................................................................... 4

    II. The Framework Rules ................................................................................... 7

 SUMMARY OF THE ARGUMENT...................................................................... 13

 STANDING ........................................................................................................... 14

 STANDARD OF REVIEW.................................................................................... 17

 ARGUMENT......................................................................................................... 18

    I.    TSCA Prohibits EPA from Considering PPE in Risk Evaluation… ............ 18

    II. EPA’s Consideration of PPE as Part of Risk Evaluation Is Inconsistent
        with the Best Available Science…............................................................... 25

    III. EPA’s Consideration of PPE is Based on Misunderstandings of Employer
         Obligations under the Occupational Safety and Health Act… .................... 28

    IV. PPE Use May Be Considered During Risk Management… .............................. 33

CONCLUSION ...................................................................................................... 34
USCA Case #24-1151                Document #2079317                    Filed: 10/10/2024           Page 5 of 64



                                     TABLE OF AUTHORITIES

Cases

AFL-CIO v. Marshall,
    617 F.2d 636 (D.C. Cir. 1979) .........................................................................27

Air Alliance Houston v. EPA,
     906 F.3d 1049 (D.C. Cir. 2018) ........................................................... 14, 15, 17

Am. Iron & Steel Inst. v. OSHA,
    182 F.3d 1261 (11th Cir. 1999) .........................................................................23

Am. Textile Mfrs. Inst. v. Donovan,
    452 U.S. 490 (1981)....................................................................................27, 29

ASARCO, Inc. v. OSHA,
   746 F.2d 483 (9th Cir. 1984) .............................................................................27

Corrosion Proof Fittings v. EPA,
    947 F.2d 1201 (5th Cir. 1991) .............................................................................4

Ctr. for Biological Diversity v. EPA,
      861 F.3d 174 (D.C. Cir. 2017) ..........................................................................17

Indus. Union Dep’t v. Am. Petroleum Inst.,
    448 U.S. 607 (1980)....................................................................................21, 26

Int’l Union, UAW v. Gen. Dynamics Land Sys. Div.,
      815 F.2d 1570 (D.C. Cir. 1987) ........................................................................30

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
      140 S. Ct. 2367 (2020)......................................................................................17

Loper Bright Enters. v. Raimondo,
    144 S. Ct. 2244 (2024)......................................................................................17

Pub. Citizen Health Rsch. Grp. v. U.S. Dep’t of Lab.,
    557 F.3d 165 (3rd Cir. 2009).............................................................................27
                                                         i
USCA Case #24-1151                 Document #2079317                      Filed: 10/10/2024             Page 6 of 64



                                 TABLE OF AUTHORITIES (cont.)

Safer Chemicals, Healthy Families v. EPA,
     943 F.3d 397 (9th Cir. 2019). ................................................................ 4, 14, 15

Secretary of Labor v. Seward Ship’s Drydock, Inc.,
    937 F.3d 1301 (9th Cir. 2019) .....................................................................21, 29

Sierra Club v. EPA,
     755 F.3d 968 (D.C. Cir. 2014) ..........................................................................15

United Steelworkers of Am., v. Marshall,
    647 F.2d 1189 (D.C. Cir. 1980) ........................................................... 23, 29, 33

U.S. Sugar Corp. v. EPA,
     113 F.4th 984 (D.C. Cir. 2024) ...................................................................17, 19


Statutes
5 U.S.C. § 706 ....................................................................................................17, 18
15 U.S.C. § 2602(12)........................................................................................... 6, 15
15 U.S.C. § 2605(a) ....................................................................................... 6, 15, 19
15 U.S.C. § 2605(b)(2)(A) ......................................................................................... 7
15 U.S.C. § 2605(b)(4). ....................................................................................2, 5, 18
15 U.S.C. § 2605(b)(4)(A) ........................................................ 1, 3, 5, 13, 15, 17, 18
15 U.S.C. § 2605(b)(4)(B) ......................................................................................3, 6
15 U.S.C § 2605(b)(4)(F) .............................................................................. 1, 17, 18
15 U.S.C. § 2605(c) ............................................................................................. 6, 19
15 U.S.C.§ 2618(a)(1)(A)........................................................................................... 2
15 U.S.C. § 2618(c)(1)(B)(i)(I) ................................................................................ 18
15 U.S.C. § 2625(h)........................................................................................1, 13, 25
28 U.S.C. § 2112(a)(3) ............................................................................................... 2
29 U.S.C. § 152(5)....................................................................................................16
                                                           ii
USCA Case #24-1151                Document #2079317                      Filed: 10/10/2024            Page 7 of 64



                                TABLE OF AUTHORITIES (cont.)

29 U.S.C. § 654(a)(1) ...............................................................................................30
29 U.S.C. § 654(a)(2) ...............................................................................................29
29 U.S.C. § 655(b)(5) ........................................................................................ 22, 29

Public Laws
Frank R. Lautenberg Chemical Safety for the 21st Century Act, Pub. L. No. 114-
  182, 130 Stat. 448 (2016)… .................................................................................. 3


Legislative Materials
S. REP. NO. 94-698, as reprinted in 1976 U.S.C.C.A.N. 4491 (Mar. 16, 1976)… .... 4
S. REP. NO. 114-67 (2015)… ........................................................................... 5, 7, 19
H.R. REP. NO. 114-176 (2015)................................................................................. 20
162 Cong. Rec. 7498 (2016)...................................................................................... 6
162 Cong. Rec. 7984 (2016)...................................................................................... 6


Regulations
29 C.F.R. § 1910.134(a) ...............................................................................22, 29, 31
29 C.F.R. § 1910.1001(b)… .................................................................................... 26
29 C.F.R. § 1910.1025(d)(1)(i)… ............................................................................ 26
29 C.F.R. §1910.1047(f)-(g) ................................................................................... 22
29 C.F.R. § 1910.1048(b)… .................................................................................... 26
29 C.F.R. § 1910.1052(b) .........................................................................................26
40 C.F.R. § 702.39(d)(3).....................................................................................12, 25
40 C.F.R. § 702.39(f)(2) ...................................................................... 1, 3, 12, 34, 35


                                                          iii
USCA Case #24-1151               Document #2079317                    Filed: 10/10/2024           Page 8 of 64




                               TABLE OF AUTHORITIES (cont.)

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EPA, “Cyclic Aliphatic Bromide Cluster (HBCD); Revision to Toxic Substances
Control Act (TSCA) Risk Determination; Notice of Availability,” 87 Fed. Reg.
38747 (June 29, 2022)…......................................................................................... 11

EPA, “Methylene Chloride; Revision to Toxic Substances Control Act (TSCA)
Risk Determination; Notice of Availability,”
87 Fed. Reg. 67901 (Nov. 10, 2022) ........................................................................ 11

EPA, “Procedures for Chemical Risk Evaluation Under the Amended Toxic
Substances Control Act,” 82 Fed. Reg. 33726 (July 20, 2017) ............................. 3-4

EPA, “Procedures for Chemical Risk Evaluation Under the Toxic Substances
Control Act (TSCA),” 89 Fed. Reg. 37028 (May 3, 2024) .....2, 8, 11, 12, 20, 23, 28

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Risk Determination; Notice of Availability,”
88 Fed. Reg. 1222 (Jan 9, 2023)...............................................................................11

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Control Act (TSCA),” 89 Fed. Reg. 65066 (Aug. 8, 2024) ...............................24, 25

EPA, NPRM, “Carbon Tetrachloride (CTC); Regulation Under the Toxic
Substances Control Act,” 88 Fed. Reg. 49180 (July 28, 2023). ............................. 30

EPA, NPRM, “Methylene Chloride: Regulation under the Toxic Substances
Control Act (TSCA)),” 88 Fed. Reg. 28284 (May 3, 2023)… ............................... 30

EPA, NPRM, “n-Methylpyrrolidone (NMP); Regulation Under the Toxic
Substances Control Act (TSCA),” 89 Fed. Reg. 51134 (June 14, 2024)… ........... 25

EPA, NPRM, “Procedures for Chemical Risk Evaluation Under the Toxic
Substances Control Act (TSCA),” 88 Fed. Reg. 74292 (Oct. 30, 2023)… ............ 11

EPA, NPRM, “Trichloroethylene (TCE); Regulation Under the Toxic Substances
Control Act (TSCA),” 88 Fed. Reg. 74712 (Oct. 31, 2023) .................................. 32
                                                        iv
USCA Case #24-1151                  Document #2079317                       Filed: 10/10/2024            Page 9 of 64




                                  TABLE OF AUTHORITIES (cont.)

OSHA, “Occupational Exposure to Asbestos, Tremolite, Anthophyllite, and
Actinolite,” 51 Fed. Reg. 22612 (June 20, 1986) ....................................................27

OSHA, “Occupational Exposure to Methylene Chloride,” 62 Fed. Reg. 1495
(Jan.10, 1997) .............................................................................................. 10, 27, 29

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(Mar. 25, 2016) .........................................................................................................27

OSHA, “Respiratory Protection,” 63 Fed. Reg. 1152 (Jan. 8, 1998) .......................32

Miscellaneous
OSHA Field Operations Manual, Chapter 4, Section II.D.2 (2022), available at
https://www.osha.gov/fom/chapter-4#general-duty ...................................................30




                                                            v
USCA Case #24-1151   Document #2079317           Filed: 10/10/2024   Page 10 of 64



                                GLOSSARY


ACGIH            American College of Government Industrial Hygienists

AFP              Assigned protection factor

EPA              Environmental Protection Agency

IAM              International Association of Machinists and Aerospace Workers,
                 AFL-CIO

NIOSH            National Institute of Occupational Safety and Health

NPRM             Notice of Proposed Rulemaking

OSH Act          Occupational Safety and Health Act

OSHA             Occupational Safety and Health Administration

PEL              Permissible exposure limit

PPE              Personal protective equipment

REL              Recommended Exposure Limit

TLV              Threshold Limit Value

TSCA             Toxic Substances Control Act

USW              United Steel, Paper and Forestry, Rubber, Manufacturing,
                 Energy, Allied Industrial and Service Workers International
                 Union, AFL-CIO




                                      vi
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 11 of 64



                                 INTRODUCTION

      These petitions challenge the authority of the Environmental Protection

Agency (“EPA”), under the Toxic Substances Control Act (“TSCA”), to consider the

use of respirators and other personal protective equipment (“PPE”) when evaluating

the risk a chemical substance poses to workers. EPA has promulgated a rule that

bars the Agency from assuming workers are protected by PPE when conducting risk

evaluations but gives the Agency unlimited discretion to consider PPE when it has

“reasonably available information” on its use. 40 C.F.R. § 702.39(f)(2). This

approach—which conflates and confuses risk evaluation with risk management—is

barred by TSCA.

      Petitioners United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,

Allied Industrial and Service Workers International Union, AFL-CIO (“USW”),

International Association of Machinists and Aerospace Workers, AFL-CIO (“IAM”),

and Worksafe (collectively, “Labor Petitioners”) submit that TSCA prohibits EPA

from considering any PPE use when assessing risk for three reasons: (1) TSCA’s

plain language prohibits EPA from considering “nonrisk” factors, such as exposure

control methods, when conducting risk evaluations, 15 U.S.C. §§ 2605(b)(4)(A) and

(F); (2) doing so is inconsistent with the “best available science,” id. § 2625(h); and

(3) the Agency’s rationale for considering PPE use rests on fundamental

misunderstandings about the requirements of the Occupational Safety and Health
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024    Page 12 of 64



Act (“OSH Act”)—and both the Occupational Safety and Health Administration

(“OSHA”) and the National Institute of Occupational Safety and Health (“NIOSH”)

have told EPA as much. While, under appropriate circumstances, EPA may consider

respirator and PPE use, as well as other feasible exposure controls, when developing

risk management rules to eliminate unreasonable risk, any consideration of PPE at

the risk evaluation stage—the goal of which is exclusively to determine whether

such a risk exists—would violate TSCA.

                        STATEMENT OF JURISDICTION

      EPA adopted the rule, “Procedures for Chemical Risk Evaluation Under the

Toxic Substances Control Act (TSCA),” 89 Fed. Reg. 37028 (May 3, 2024)

(“Revised Framework Rule”), pursuant to TSCA section 6(b)(4), 15 U.S.C.

§ 2605(b)(4). TSCA section 19(a), id. § 2618(a)(1)(A), authorizes “any person” to

petition for review of “a rule . . . promulgated under this subchapter” and authorizes

review in the District of Columbia Circuit or the circuit in which a party has its

principal place of business. USW filed a timely petition for review in this Court on

May 21, 2024. IAM, Worksafe and other parties filed petitions in various other

circuit courts. The Joint Panel on Multidistrict Litigation selected this Court to hear

all challenges to EPA's rule pursuant to 28 U.S.C. § 2112(a)(3).




                                          2
USCA Case #24-1151        Document #2079317             Filed: 10/10/2024   Page 13 of 64



                           STATEMENT OF THE ISSUES

   I.       Whether the provision in EPA’s Revised Framework Rule, 40 C.F.R.

            § 702.39(f)(2), which permits the Agency to consider the use of personal

            protective equipment in performing risk evaluations, violates section

            6(b)(4)(A) of the Toxic Substances Control Act, 15 U.S.C.

            § 2605(b)(4)(A), which prohibits the agency from considering “nonrisk”

            factors during risk evaluation.

   II.      Whether consideration of respirator use and other personal protective

            equipment in risk evaluation is inconsistent with TSCA’s mandate that

            EPA rely on the “best available science.”

   III.     Whether Section 702.39(f)(2) of EPA’s Revised Framework Rule is

            arbitrary because it rests on a fundamental misunderstanding of the

            requirements of OSHA standards.

                            STATEMENT OF THE CASE

          TSCA required EPA to “establish, by rule, a process to conduct risk

evaluations” within one year after Congress adopted the Frank R. Lautenberg

Chemical Safety for the 21st Century Act, Pub. L. No. 114-182, 130 Stat. 448 (2016).

15 U.S.C. § 2605(b)(4)(B). EPA complied with this mandate by publishing rules to

establish a framework for risk evaluations in 2017. See EPA, “Procedures for

Chemical Risk Evaluation Under the Amended Toxic Substances Control Act,” 82

                                              3
USCA Case #24-1151       Document #2079317         Filed: 10/10/2024    Page 14 of 64



Fed. Reg. 33726 (July 20, 2017) (“2017 Framework Rule”). The Ninth Circuit

reviewed those rules in Safer Chemicals, Healthy Families v. EPA, 943 F.3d 397 (9th

Cir. 2019) (upholding the rules in part, vacating the rules in part, and declining to

address other issues as not ripe). The instant petitions challenge a provision of the

Revised Framework Rule that EPA adopted when it revised the 2017 Framework

Rule in 2024.

   I.      Relevant Statutory Provisions

        Congress enacted TSCA in 1976 to “prevent unreasonable risks of injury to

health or the environment associated with the manufacture, processing, distribution

in commerce, use, or disposal of chemical substances.” S. R EP. NO. 94-698 at 1, as

reprinted in 1976 U.S.C.C.A.N. 4491 (Mar. 16, 1976). Congress recognized that

“[w]hile individual agencies may be authorized to regulate occupational,

environmental, or direct consumer hazards,” none “ha[d] the authority to look

comprehensively at the hazards associated with the chemical,” as opposed to those

hazards within each agency’s narrower jurisdiction. Id. at 2. The Act gave EPA “the

authority to look at the hazards in total.” Id.

        As originally enacted, TSCA limited EPA to using the “least burdensome

requirements” to regulate chemicals. See Corrosion Proof Fittings v. EPA, 947 F.2d

1201, 1229–30 (5th Cir. 1991) (remanding EPA’s asbestos ban for failure to consider




                                            4
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 15 of 64



least burdensome alternative). As a result of this high bar, EPA regulated relatively

few chemicals under the Act.

      In 2016, Congress—noting that TSCA’s effective implementation “ha[d] been

challenged by shortcomings in the statute itself, and by several key decisions of

Federal Courts”—amended TSCA to “provide EPA the authority necessary for

efficient and effective regulation of chemical risks.” S. REP. NO. 114-67, at 2 (2015).1

To accomplish this goal, Congress largely rewrote section 6 of TSCA, the provision

that governs review and regulation of existing chemicals. As amended, TSCA

requires the Agency to follow a two-step process for evaluating and managing the

health and environmental risks posed by a toxic substance, and to do so under a strict

schedule.

      First, section 6(b)(4) directs EPA to “conduct risk evaluations . . . to determine

whether a chemical substance presents an unreasonable risk of injury to health or the

environment, without consideration of costs or other nonrisk factors, including an

unreasonable risk to a potentially exposed or susceptible subpopulation.” 15 U.S.C.

§ 2605(b)(4)(A) (emphasis added).2 TSCA specifically identifies workers as such a


1
 The Senate report is in the Administrative Record as Docket EPA-HQ-OPPT-2023-
0496-0420. Documents in the Administrative Record will hereinafter be referred to
as “AR Ex.     ,” using the last four digits of the docket number (e.g., for the Senate
report, “AR Ex. 0420”).
2
  The full text of relevant portions of TSCA are set forth in the Statutory Addendum
to this brief.
                                           5
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 16 of 64



subpopulation. Id. § 2602(12). Congress required EPA to develop procedures, by

rule, to govern such risk evaluations. Id. § 2605(b)(4)(B).

      Second, “[i]f [EPA] determines [in a risk evaluation] that the manufacture,

processing, distribution in commerce, use, or disposal of a chemical substance or

mixture, or that any combination of those activities, presents an unreasonable risk of

injury to health or the environment,” TSCA directs EPA to enact regulations “to the

extent necessary so that the chemical substance or mixture no longer presents such

risk.” Id. § 2605(a). As amended, TSCA no longer requires EPA to use the “least

burdensome” means of managing risk, a requirement lawmakers said had “paralyzed

EPA and prevented [it] from regulating some extremely toxic chemicals.” 162 Cong.

Rec. 7498 (2016) (statement of Sen. Markey); see also 162 Cong. Rec. 7984 (2016)

(explaining that, by “delet[ing] the paralyzing ‘least burdensome’ requirement and

instruct[ing] that EPA’s rule must ensure that the chemical substance or mixture ‘no

longer presents’ the unreasonable risk identified in the risk evaluation,” the Amended

Act “clearly rejects the regulatory approach and framework that lead to the failed

asbestos ban and phase-out rule of 1989”). Instead, Congress directed EPA, when

adopting a risk management rule, to “consider” several enumerated factors,

including “the costs and benefits of the proposed and final regulatory action and of

the 1 or more primary alternative regulatory actions” and “the cost effectiveness of

the proposed regulatory action.” Id. § 2605(c)(2)(A)(iv)(II)–(III).

                                          6
USCA Case #24-1151        Document #2079317          Filed: 10/10/2024    Page 17 of 64



          Through this two-step process, Congress intended to “‘de-couple[]’ [EPA’s]

science-based risk decision about a chemical’s safety under its intended conditions

of use from [EPA’s] decision on how to manage unreasonable risks where chemicals

do not meet the safety standard under intended conditions of use.” S. REP. NO. 114-

67, AR Ex. 0420 at 17. In other words, in evaluating risk, EPA “must determine that

a chemical meets the safety standard, or not, based solely on risk to human health

and the environment—the integration of hazard and exposure information about a

chemical—and not on the basis of other factors such as consideration of the costs or

benefits of the substance or of possible restrictions on the substance.” Id.3

    II.      The Framework Rules

          EPA’s initial Framework Rule, published in 2017, did not address whether,

and if so how, the Agency would consider the use of respirators and other PPE in

gauging exposure, and hence, risk to workers. But in conducting the first ten risk

evaluations mandated by the amended TSCA, see 15 U.S.C. § 2605(b)(2)(A), EPA

“assumed that workers were provided and always used personal protective

equipment (PPE) in a manner that achieves the stated assigned protection factor


3
  “Safety standard” as used in the Senate bill refers to the same requirements that
appear in the enacted section 6(b)(4). See S. REP. No. 114-67, AR Ex. 0420 at 17
(the “Safety Standard” “ensures, without taking into consideration cost or other
nonrisk factors, that no unreasonable risk of injury to health or the environment will
result from exposure to a chemical substance under the conditions of use.”)


                                           7
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024   Page 18 of 64



(APF) for respiratory protection . . . .” 89 Fed. Reg. at 37037. Relying on this

assumption, EPA divided the exposure measurements available to it by the assigned

protection factor for the respirators EPA assumed workers would be wearing.4 As a

result, in determining the level of risk for most of the initial 10 chemicals it

evaluated, EPA relied on exposure assumptions that were a fraction of the actual

measured workplace exposures.

      Unions and other commenters objected strenuously to EPA’s unprecedented

assumption of widespread respirator and other PPE use in gauging occupational

exposures. Both NIOSH and OSHA objected to EPA’s discounting of occupational

exposure based on presumed respirator use.5           The agencies—the Federal

Government’s lead organizations on controlling workplace hazards—gave three

reasons for objecting to EPA factoring PPE use into its risk assessment. First,

attempting to adjust exposure data according to some assumed assigned protection


4
  For example, if the eight-hour time weighted average exposure of a worker to
chemical X is 100 parts per million (ppm), and the employer required the worker to
wear a half-mask respirator with an APF of 10, EPA would assume the worker’s
exposure was 10 ppm, not 100 ppm.
5
 NIOSH and OSHA commented to EPA as part of the inter-agency review process.
The American Federation of Labor and Congress of Industrial Organizations (“AFL-
CIO”) obtained copies of each agency’s comments to EPA on the Agency’s draft risk
evaluations of methylene chloride, 1,4-dioxane, and cyclic aliphatic bromide cluster
(HBCD), and placed these comments in EPA’s record on the Revised Framework
Rule. See AR Ex. 215 Atts. 1-6.


                                         8
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 19 of 64



factor was simply bad science, as “APFs are intended to guide the selection of an

appropriate class of respirators to protect workers after a substance has been

determined to be hazardous, after an occupational exposure limit is established, and

only after feasible engineering, work practice, and administrative controls have been

put in place.”6

         Second, the agencies pointed out that the assumption that all workers would

be provided with respirators or wear them correctly was simply unwarranted. OSHA

explained that it “does not evaluate respirator impact in an initial characterization of

risk since [doing so] presumes all workers in an occupational application group will

be properly trained, fitted, and wear respirators, which is rarely the case.” 7 In

commenting on EPA’s methylene chloride risk evaluation, NIOSH agreed, calling

the assumption that all workers would be wearing PPE an “assumption [that]

severely underestimates worker exposure,”8 and noting that “it is NOT plausible to

assume that every worker would be in a respirator . . . . This is an incorrect




6
 OSHA Comments on EPA’s Methylene Chloride Risk Evaluation (“OSHA
Methylene Chloride Comments”), AR Ex. 0215 Att. 6 at 1, 6 (emphasis in original).
7
    Id. at 6.
8
 NIOSH Comments on EPA’s Methylene Chloride Risk Evaluation (“NIOSH
Methylene Chloride Comments”), AR Ex. 0215 Att. 5 at 4.


                                           9
USCA Case #24-1151          Document #2079317        Filed: 10/10/2024   Page 20 of 64



assumption and should not be used in risk estimation nor in developing findings of

unreasonable risk.”9

         Finally, the agencies argued that EPA’s focus on PPE use was inconsistent

with the hierarchy of controls, which NIOSH characterized as “a long-standing

industrial hygiene best practice” that prioritizes chemical elimination, substitution,

engineering controls, and administrative controls—measures that eliminate or

reduce the actual presence of a hazard—and prohibits employers from using PPE

until they have exhausted those preferred options.10 OSHA agreed, pointing out that

         [d]irect adjustment of exposure estimates using APFs . . . ignores the
         hierarchy of controls in which respirator use is a last resort after
         engineering controls and other workplace practices. APFs and
         respirator use is better addressed during risk management after
         unreasonable risk in the absence of respirator use has been
         determined.11

         EPA subsequently acknowledged that its practice of reducing exposure

measurements by the APF assigned to a respirator that EPA assumed workers were

wearing “could result in risk evaluations that underestimate risks, and in turn,



9
    Id. at 3 (emphasis in original).
10
  Id. at 4. See also OSHA, “Final Rule: Occupational Exposure to Methylene
Chloride,” 62 Fed. Reg. 1495, 1582 (Jan. 10, 1997) (describing hierarchy of
controls) (“OSHA Methylene Chloride Rule”).
11
     OSHA Methylene Chloride Comments, AR Ex. 0215 Att. 6 at 6.


                                          10
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 21 of 64



prevent risk management rules from affording necessary protections.” EPA, Notice

of Proposed Rulemaking (“NPRM”), “Procedures for Chemical Risk Evaluation

Under the Toxic Substances Control Act (TSCA),” 88 Fed. Reg. 74292, 74294 (Oct.

30, 2023) (“Framework Rule NPRM”); Revised Framework Rule, 89 Fed. Reg. at

37037. In fact, when the Agency revised its risk determinations for several chemical

substances to eliminate the assumption that all workers wore respirators all the time,

it found that a number of additional conditions of use contributed to the unreasonable

risk posed by the chemical.12




12
   For example, in its 2020 Risk Evaluation for Methylene Chloride, in which the
Agency had assumed all workers were protected by PPE, EPA found that workers in
six occupational conditions of use were not exposed to unreasonable risk. When
EPA eliminated the assumption of universal PPE use, the Agency found that workers
in all occupational conditions of use faced unreasonable risk. See EPA, “Methylene
Chloride; Revision to Toxic Substances Control Act (TSCA) Risk Determination;
Notice of Availability,” 87 Fed. Reg. 67901, 67905–06 (Nov. 10, 2022). In addition,
while in its 2020 Risk Evaluation for Trichloroethylene, EPA initially found that
most occupational conditions of use posed unreasonable risk, when the Agency
eliminated the assumption of universal PPE use, it determined employees faced
significantly higher risks. EPA, “Trichloroethylene (TCE); Revision to Toxic
Substances Control Act (TSCA) Risk Determination; Notice of Availability,” 88 Fed.
Reg. 1222, 1226 (Jan 9, 2023). See also, EPA, “Cyclic Aliphatic Bromide Cluster
(HBCD); Revision to Toxic Substances Control Act (TSCA) Risk Determination;
Notice of Availability,” 87 Fed. Reg. 38747, 38751 (June 29, 2022) (by eliminating
the assumption of PPE use, EPA finds more conditions of use contribute to
unreasonable risk).


                                         11
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 22 of 64



      To codify its new policy, EPA adopted the Revised Framework Rule, which

details whether, and if so how, it will consider PPE use during risk evaluation. EPA’s

Revised Framework Rule provides:

      In determining whether unreasonable risk is presented, EPA’s
      consideration of occupational exposure scenarios will take into account
      reasonably available information, including known and reasonably
      foreseen circumstances where subpopulations of workers are exposed
      due to the absence or ineffective use of personal protective equipment.
      EPA will not consider exposure reduction based on assumed use of
      personal protective equipment as part of the risk determination.

40 C.F.R. § 702.39(f)(2).

      In the preamble to the rule, EPA explained that it “distinguishes ‘assumed use’

of PPE from use that is supported by the reasonably available information and

therefore known to be inherent in the performance of an activity.” Revised

Framework Rule, 89 Fed. Reg. at 37037. EPA gave no examples of when PPE use

might be “inherent” in performing an activity. EPA further explained that “where

stakeholders have information that demonstrates effective occupational exposure

control practices” such as “the standards of a particular industry,” EPA will use that

information “to inform both the risk evaluation and risk management processes.” Id.

at 37038. EPA emphasized that it intends to consider “occupational exposure control

practices as part of the risk evaluation.” Id.; see also 40 C.F.R. § 702.39(d)(3)

(information evaluated as part of the exposure assessment may include

“occupational exposure control measures”).

                                         12
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024    Page 23 of 64



                       SUMMARY OF THE ARGUMENT

      TSCA requires EPA to make risk determinations without regard to PPE. Labor

Petitioners fully support EPA’s decision not to assume the use of PPE in making a

risk determination. But neither may EPA consider PPE use when it has “reasonably

available information” on PPE.

      Respirators, together with engineering controls, work practices, and other PPE

are means of managing hazardous exposures; in TSCA parlance, they are “nonrisk

factors” that the statute prohibits EPA from considering when conducting risk

evaluations and making risk determinations. 15 U.S.C. § 2605(b)(4)(A).

Furthermore, accepted industrial hygiene practice, as well as OSHA regulations,

require that worker exposures be measured, and risk determined, without regard to

respirators. Consideration of PPE use in assessing risk is unprecedented and at odds

with TSCA’s requirement that EPA rely on the “best available science.” Id.

§ 2625(h).

      What is more, the actual impact of respirator use cannot be effectively

measured because a sampling device cannot be placed inside a respirator without

breaking the face seal. Any policy that permits EPA to take this kind of

“occupational exposure control measure” into account when assessing risk would

lead to risk determinations lacking in scientific support. Both OSHA and NIOSH

have technical expertise on issues of occupational risk assessment and control; both

                                         13
USCA Case #24-1151       Document #2079317          Filed: 10/10/2024    Page 24 of 64



agencies have told EPA that it is wrong to take respirator use into account when

assessing risk. PPE should be considered, if at all, during risk management as a

possible exposure control measure in combination with other control measures. To

the extent that the first sentence of 40 C.F.R. § 702.39(f) gives EPA discretion to

consider PPE use when it has some undefined amount of “readily available

information,” that portion of the Framework rule violates TSCA, and this Court

should declare it to be invalid.13

                                     STANDING

      USW and IAM have organizational standing to bring these petitions. This

Court has recognized that “[a]n organization has standing to sue on behalf of its

members when . . . its members would otherwise have standing to sue in their own

right.” Air Alliance Houston v. EPA, 906 F.3d 1049,1058 (D.C. Cir. 2018) (citations

omitted). To meet the standard for organizational standing, the unions “must

demonstrate that at least one of their members would otherwise have standing to sue

in his or her own right; that the interests they seek to protect are germane to their


13
   Labor Petitioners raise a facial challenge to EPA’s rule because it permits the
Agency to consider PPE use during risk evaluation when the statute forbids the
Agency from doing so. Labor Petitioners also question what type of evidence EPA
would consider to be enough to justify taking PPE use, or the failure of such use,
into account. Since EPA has not applied the policy yet and may not do so in the way
Labor Petitioners fear, we have not raised any “as applied” challenges believing that
they would not be ripe. See Safer Chemicals, 943 F.3d at 413 (finding certain “as
applied” claims not ripe because it was not clear EPA would conduct its risk
assessments in manner Petitioners feared).
                                         14
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 25 of 64



organizations’ purposes; and that neither the claim asserted nor the relief requested

requires the participation of individual members.” Id. (citing Sierra Club v. EPA, 755

F.3d 968, 973 (D.C. Cir. 2014)). USW and IAM satisfy those requirements.

      In amending TSCA, Congress directed EPA “conduct risk evaluations . . . to

determine whether a chemical substance presents an unreasonable risk of injury to

health . . . , including an unreasonable risk to a potentially exposed or susceptible

subpopulation,” and if the Agency determined there was such an unreasonable risk,

to issue regulations so that the chemical “no longer presents such risk.” 15 U.S.C.

§§ 2605(a) and (b)(4)(A). Congress specifically identified workers as among the

subpopulations whose risks EPA was to evaluate and eliminate. Id. § 2602(12).

      USW represents thousands of workers in the chemical manufacturing industry

who are exposed to chemicals EPA has evaluated, is currently evaluating, and will

evaluate in the future under TSCA. Indeed, USW is the largest union representing

workers in the chemical manufacturing industry. The Ninth Circuit recognized that

USW had standing to challenge EPA’s initial Framework Rule in Safer Chemicals,

Healthy Families v. EPA, 943 F.3d at 421. IAM similarly represents workers in

various industries, including manufacturing and the aerospace industry, where they

are routinely exposed to toxic chemicals. USW and IAM have standing here too

because when EPA has taken respirators into account during risk evaluation, the

Agency has in several instances decided that members of these unions did not face

                                         15
USCA Case #24-1151       Document #2079317          Filed: 10/10/2024    Page 26 of 64



unreasonable risks under certain conditions of use.14 As a result, members of both

Unions face the prospect of remaining exposed to chemicals that may harm their

health, contrary to TSCA’s intent. These members therefore clearly have standing to

bring this suit in their own right.

      Moreover, a principal objective of both USW and IAM, as the collective

bargaining agents of these members over their terms and conditions of employment,

29 U.S.C. § 152(5) (defining “labor organization” as an “organization . . . in

which employees participate and which exists for the purpose . . . of dealing with

employers concerning . . . conditions of work”), is to ensure that their members work

safely, in environments that will not adversely affect their health. Ensuring that EPA

properly carries out its obligations under TSCA to identify and eliminate

unreasonable risks in the workplace is undoubtedly germane to the Unions’ purpose.

And finally, pursuing these claims does not require the individual participation of

the Unions’ members.




14
   For example, in its 2020 risk evaluation for methylene chloride, EPA found that
manufacture of the chemical did not pose an unreasonable risk. USW represents
workers who manufacture methylene chloride and who would not have been
protected by any subsequent methylene chloride risk management rule had EPA not
revised its risk evaluation. IAM represents aerospace workers who are also routinely
exposed to methylene chloride. Once EPA revised its risk determination by
eliminating the assumption of PPE use, members of these Unions gained protections.
See n. 12, supra.
                                         16
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024   Page 27 of 64



      Accordingly, USW and IAM have associational standing to pursue this case.

See Air Alliance Houston, 906 F.3d at 1058–59 (finding USW had standing to

challenge EPA regulation based on its members’ exposure). And since USW and

IAM have standing, Worksafe may participate as well. Id. (“When more than one

association brings suit, ‘we need only find one party with standing’ to satisfy the

[standing] requirement” (quoting Ctr. for Biological Diversity v. EPA, 861 F.3d 174,

182 (D.C. Cir. 2017)); Little Sisters of the Poor Saints Peter & Paul Home v.

Pennsylvania, 140 S. Ct. 2367, 2379 n.6 (2020) (“[A]t least one party must

demonstrate Article III standing for each claim for relief”).

                            STANDARD OF REVIEW

      Labor Petitioners raise an issue of statutory interpretation; this Court must

review an issue of statutory interpretation de novo to determine the “best” reading

of the term “nonrisk factors” in TSCA section 6(b)(4)(A) and (F), 15 U.S.C.

§ 2605(b)(4)(A) and (F). See U.S. Sugar Corp. v. EPA, 113 F.4th 984, 993–94 (D.C.

Cir. 2024) (citing Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2261 & n.4,

2273 (2024)).

      Labor Petitioners also raise issues of whether the challenged provision of

EPA’s Revised Framework Rule is consistent with TSCA’s mandates. TSCA section

19 provides that the Administrative Procedure Act (“APA”)’s scope of review

provisions, 5 U.S.C. § 706, do not apply to rules published under 15 U.S.C.

                                         17
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024    Page 28 of 64



§ 2605(b)(4) such as the Revised Framework Rule at issue here. Instead, “the court

shall hold unlawful and set aside such rule if the court finds that the rule is not

supported by substantial evidence in the rulemaking record taken as a whole.” 15

U.S.C. § 2618(c)(1)(B)(i)(I). The APA otherwise requires the Court to set aside

agency action that is in excess of an agency’s statutory authority, promulgated

without “observance of procedure required by law,” or “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2).

                                   ARGUMENT

   I.     TSCA Prohibits EPA from Considering PPE in Risk Evaluation.

        Any consideration of PPE use during risk evaluation runs counter to

Congress’s deliberate separation of the risk evaluation process from the risk

management process. TSCA section 6(b) directs EPA to “conduct risk evaluations .

. . to determine whether a chemical substance presents an unreasonable risk of injury

to health or the environment . . . .” 15 U.S.C. § 2605(b)(4)(A). TSCA requires EPA,

in determining whether a chemical presents an unreasonable risk, to “take into

account, where relevant, the likely duration, intensity, frequency, and number of

exposures under the conditions of use of the chemical.” Id. § 2605(b)(4)(F). But

TSCA directs EPA not to “consider costs or other nonrisk factors” in making that

risk determination. Id. Only after completing a risk evaluation and determining that

a chemical presents an unreasonable risk may EPA look to nonrisk factors in

                                         18
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024    Page 29 of 64



assessing its options for managing that risk pursuant to sections 6(a) and 6(c). Id.

§§ 2605(a), (c).

      Congress separated risk management from risk evaluation to ensure that the

agency determines whether a chemical poses unreasonable risk based only on health

and environmental effects—that is, to “de-couple[]” the Agency’s step-one risk

determination from its step-two “decision on how to manage unreasonable risks . . .

.” S. REP. NO. 114-67, AR Ex. 0420 at 17. Congress made clear the factors it

intended EPA to consider in making its risk determination and the “nonrisk” factors

it intended to preclude: Congress intended EPA’s risk determination to be a “science-

based risk decision” based on “the integration of hazard and exposure information

about a chemical.” But “costs and other factors such as technical feasibility” or

“possible restrictions on the substance” were “to play no part in EPA’s safety

determinations.” Id. In the context of the overall scheme of section 6—and

Congress’ deliberate decision to “de-couple” risk evaluation from risk

management—it is clear that TSCA prohibits EPA from considering the effect of

control measures, such as respirators or PPE, when determining whether a substance

poses an unreasonable risk. See U.S. Sugar Corp., 113 F.4th at 993–94 (Court looks

to statutory context to determine the meaning of the Clean Air Act).

      Moreover, Congress did “not intend for the implementation of TSCA to

conflict with or disregard Occupational Safety & Health Administration’s hierarchy

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USCA Case #24-1151         Document #2079317         Filed: 10/10/2024    Page 30 of 64



of controls.” H.R. REP. NO. 114-176 at 28–29 (2015). This legislative history

clarifies Congress’ intent: Whatever else the phrase “nonrisk factors” means, it

clearly does not permit EPA to consider the effect of PPE—a practice both OSHA

and NIOSH describe as inconsistent with the hierarchy of controls—in risk

evaluation.

         Despite this clear statutory mandate, EPA’s prior assumption of widespread

PPE use—a “nonrisk factor” under the statute—impermissibly conflated risk

evaluation with risk management. As a result, the Agency underestimated the risk

toxic substances posed to workers. Revised Framework Rule, 89 Fed. Reg. at

37037.15 Given that TSCA requires EPA to eliminate the “unreasonable risks” a

chemical poses, any analysis that underestimates the risk to workers would

undoubtedly affect the risk management approach EPA chooses. In fact, because the

statute directs EPA to take regulatory action only when it finds unreasonable risk,

where these assumptions lead EPA to conclude that no unreasonable risk exists, EPA

has no duty—indeed, no authority—to act.

         While EPA has wisely jettisoned its unfounded assumptions about the

universal use of PPE, it has nevertheless reserved for itself an unrestricted right to

consider some quantum of “reasonably available information” regarding PPE use at

the risk-evaluation phase. Even if based on empirical data, this reliance on a “nonrisk


15
     See note 12, supra.
                                          20
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024    Page 31 of 64



factor” still violates TSCA, as Congress has declared it irrelevant to determining

risk, and as the record demonstrates, it will predictably lead to continuing

underestimation of the risk toxic chemicals pose to workers.

      A comparison to OSHA practice is instructive. Much like EPA, whose risk-

evaluation mandate requires it to determine that a chemical presents an

“unreasonable risk” to health or the environment, OSHA must conclude that a hazard

poses a “significant risk” to workers before it may regulate the hazard. See Indus.

Union Dep’t v. Am. Petroleum Inst., 448 U.S. 607, 656 (1980) (“Benzene”). Since

the Benzene decision, OSHA has quantified risks to workers in several cases; in none

of these risk assessments has OSHA reduced the measured exposure to a chemical

based on PPE use.

      Instead, OSHA regulations reflect that “[r]espirators are protective

equipment” used to limit worker exposures. Sec’y of Labor v. Seward Ship’s

Drydock, Inc., 937 F.3d 1301, 1303 (9th Cir. 2019). Respirators and other PPE,

along with engineering controls and work practices, have always been viewed as

means of managing, not measuring the risks chemicals pose in the workplace.

Indeed, respirators represent the lowest, least-favored rung on the hierarchy of

controls.

      As both NIOSH and OSHA explained in their comments to EPA, engineering

controls eliminate or reduce exposures at the source; work practice controls require

                                         21
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024    Page 32 of 64



performing work in a way that limits exposures, such as requiring workers to use

clean rooms for part of the workday. When properly implemented, both of those

control strategies reliably reduce potential exposures. PPE, on the other hand, does

nothing to control the environment, and its effectiveness is dependent on a number

of variables, including whether it is appropriate for the particular exposures, whether

it fits the worker and is maintained properly, and whether workers are properly

trained in its use—something OSHA noted is “rarely the case.” 16 Accordingly,

OSHA regulations permit reliance on respirators “to supplement engineering and

administrative controls only when these controls cannot be feasibly implemented to

reduce employee exposure to permissible levels.”17

      Courts have reviewed several OSHA health standards promulgated under

section 6(b)(5) of the OSH Act, 29 U.S.C. § 655(b)(5). In none of these cases has

OSHA taken respirator or other PPE use into account in determining whether

workers face a “significant risk.” All of these OSHA standards considered

respirators to be the least-preferred means of controlling worker exposures to the



16
 OSHA Methylene Chloride Comments, AR Ex. 0215 Att. 6 at 6; see also NIOSH
Methylene Chloride Comments, AR Ex. 0215 Att. 5 at 6-7.
17
   OSHA Comments on EPA’s HBCD Risk Evaluation, AR Ex. 0215 Att. 3 at 1; see
also, e.g., 29 C.F.R. § 1910.134(a)(2) (OSHA’s respirator standard); id. §
1910.1047(f)–(g) (OSHA’s ethylene oxide standard) (requiring engineering and
work practice controls to reduce exposures and permitting respirators to control
exposures in limited circumstances).
                                      22
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 33 of 64



limit OSHA sets, and this and other courts have consistently evaluated their role in

controlling worker exposures as part of its analysis of technological feasibility, not

as a factor in estimating risk. See, e.g., United Steelworkers of Am. v. Marshall, 647

F.2d 1189, 1269 (D.C. Cir. 1980) (every earlier OSHA standard has included a

section entitled “means of compliance” incorporating a preference for engineering

and work practice controls over respirators); Am. Iron & Steel Inst. v. OSHA, 182

F.3d 1261, 1267–68 (11th Cir. 1999) (OSHA has incorporated a preference for

engineering and work practice controls over respirators as a means of complying

with its standards since 1971).

      EPA, in some instances, has recognized that PPE is a “nonrisk factor” the

Agency cannot consider in evaluating risk. In the preamble to the Revised

Framework Rule, EPA explained it was abandoning its prior practice of assuming

PPE use, pointing out that “TSCA risk evaluations are subject to statutory science

standards, an explicit requirement to consider risks to potentially exposed or

susceptible subpopulations, and a prohibition on considering costs and other non-

risk factors when determining whether a chemical presents an unreasonable risk that

warrants regulatory actions.” Revised Framework Rule, 89 Fed. Reg. at 37037.

Accordingly, because “by law, [it] cannot consider costs or other non-risk factors”

during risk evaluation, the Agency stated that it “does not take into account any

existing occupational exposure controls” in deriving its “risk-based occupational

                                         23
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024   Page 34 of 64



exposure value[s].” Id. at 37040. “However, when proposing any regulatory limit

during the risk management phase, EPA may consider costs and other non-risk

factors, such as . . . existing occupational exposure control approaches and

technologies.” Id.

      In addition to acknowledging the statutory limit on its ability to consider PPE

during risk evaluation, EPA has also pointed to practical reasons for refusing to do

so. For example, EPA noted in the preamble to its proposed risk management rule

for 1-bromopropane that while it may be presented with evidence of employer “best

practices” during risk evaluation, “the Agency cannot assume that all facilities across

all uses of the chemical substances will have adopted these practices for the purposes

of making the TSCA risk determination,” and that the Agency instead uses industry

practices that “are clearly articulated to the Agency to help inform risk management

decisions.” EPA, NPRM, “1-Bromopropane (1-BP); Regulation Under the Toxic

Substances Control Act (TSCA),” 89 Fed. Reg. 65066, 65072 (Aug. 8, 2024).

      Similarly, in explaining its proposed risk management rule for n-

Methylpyrrolidone (NMP), EPA noted that because it is not reasonable to assume

that all facilities would have adopted the same controls, in determining unreasonable

risk “it is appropriate to evaluate the levels of risk present in scenarios where no

mitigation measures are assumed to be in place,” while information regarding

“different levels of mitigation” employed by industry “could be used during risk

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USCA Case #24-1151         Document #2079317         Filed: 10/10/2024   Page 35 of 64



management to tailor risk mitigation appropriately to address any unreasonable risk

identified........ ” EPA, NPRM, “n-Methylpyrrolidone (NMP); Regulation Under the

Toxic Substances Control Act (TSCA),” 89 Fed. Reg. 51134, 51141 (June 14, 2024).

           Despite all this, the Revised Framework Rule leaves EPA the discretion to

“take information about PPE use “into account in the exposure assessment.” Id. at

37037. 18 Because—as EPA has recognized—TSCA’s plain language and Congress’

clear intent prohibit it from considering PPE during the risk evaluation phase of

EPA’s two-step rulemaking process, the provision granting the Agency discretion to

do so is invalid.

     II.      EPA’s Consideration of PPE as Part of Risk Evaluation Is
              Inconsistent with the Best Available Science.

           TSCA directs EPA, both in evaluating risk and devising risk management

rules, to use “methods, protocols [and] methodologies . . . in a manner consistent

with the best available science.” 15 U.S.C. § 2625(h). Any consideration of



18
  The “exposure assessment” is one component of the risk evaluation process. See
40 C.F.R. § 702.39(d). See, e.g.., EPA, NPRM, “1-Bromopropane (1–BP);
Regulation Under the Toxic Substances Control Act (TSCA),” 89 Fed. Reg. 65066,
65071 (Aug. 8, 2024) (noting that while in making its risk determination, “EPA
believes it is appropriate to evaluate the levels of risk present in scenarios where no
mitigation measures are assumed to be in place,” exposure estimates may reflect
mitigation measures when they are “based on monitoring data at facilities that have
existing engineering controls in place”). But PPE does not control the level of
exposures in the workplace, and as discussed in the next section, its effect on
exposures cannot be accurately measured.

                                           25
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024   Page 36 of 64



respirator use during risk evaluation would run counter to well-settled industrial

hygiene principles, and thus violate this mandate.

        This is so because the effect of PPE use cannot be measured. Sampling devices

cannot be attached inside a respirator’s face piece because doing so would break the

face piece’s seal, which is critical to the respirator’s effectiveness. Every

comprehensive OSHA health standard defines employee exposure as the monitored

level of a chemical in an employee’s breathing zone, without regard to respirator

use.19 Accordingly, as OSHA has advised EPA, when it sets out to determine

whether, as a threshold to regulating, the chemical poses a “significant risk,”

Benzene, 448 U.S. at 640, it “does not evaluate respirator impact in an initial

characterization of risk.”20 Indeed, we are unaware of any occupational risk

evaluation relied upon by a Federal agency that has reduced worker exposures by

the protection factor assigned to a respirator—regardless of any “reasonably

available information” about the prevalence of respirator use.

        In addition to the technological impossibility of measuring the effect of PPE

use in a factory setting, OSHA has consistently found respirators to be unreliable as



19
   See, e.g., 29 C.F.R. § 1910.1052(b) (methylene chloride); id. § 1910.1001(b)
(asbestos); id. § 1910.1025(d)(1)(i) (lead); id. § 1910.1048(b) (formaldehyde).

20
     OSHA Methylene Chloride Comments, AR Ex. 0215 Att. 6 at 6.


                                          26
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 37 of 64



protection against harmful chemicals. Time and time again, OSHA has warned that

respirators are “uncomfortable to wear, cumbersome to use, and interfere with

communication in the workplace, which can often be critical to maintaining safety

and health.”21 Courts have upheld OSHA’s findings that respirators are “woefully

inadequate” to protect workers due to “problems with adequate facial fit, increased

heat stress, reduced vision, increased breathing resistance, speech limitation, limited

mobility, and excess weight.” ASARCO, Inc. v. OSHA, 746 F.2d 483, 496 n.27, 497

(9th Cir. 1984).22 Thus, even if EPA receives information that respirators and other

PPE are being used, there is no way for the Agency reliably to assess its overall effect

on employee exposure.

      For all these reasons, NIOSH advised EPA, in commenting on its initial

methylene chloride risk evaluation, that “[i]n occupational risk assessment, risks



21
   OSHA Methylene Chloride Rule, 62 Fed. Reg. at 1583. See also OSHA,
“Occupational Exposure to Asbestos, Tremolite, Anthophyllite, and Actinolite,” 51
Fed. Reg. 22612, 22693 (June 20, 1986) (describing the limits of respirator use);
OSHA, “Occupational Exposure to Respirable Silica,” 81 Fed. Reg. 16286, 16293
(Mar. 25, 2016) (describing how OSHA health standards generally rely on the
hierarchy of controls and limit respirator use).
22
  See also AFL-CIO v. Marshall, 617 F.2d 636, 653 n.80 (D.C. Cir. 1979), aff’d sub
nom. Am. Textile Mfrs. Inst. v. Donovan, 452 U.S. 490 (1981) (affirming OSHA’s
reliance on engineering and work practice controls over respirators); Pub. Citizen
Health Rsch. Grp. v. U.S. Dep’t of Lab., 557 F.3d 165, 179 (3rd Cir. 2009)
(discussing why respirators are strongly disfavored).


                                          27
USCA Case #24-1151        Document #2079317           Filed: 10/10/2024    Page 38 of 64



should be calculated without regard for respiratory protection.”23 OSHA made the

same point, telling EPA that OSHA does not evaluate respirator impact in an initial

characterization of risk.24 In continuing to look to PPE use as a factor in carrying out

its statutory duty to evaluate risk without regard to nonrisk factors, EPA is

disregarding the “best available science” as articulated by the most authoritative

Federal agencies. This provision of the Revised Framework Rule must therefore be

set aside as arbitrary and inconsistent with TSCA.

      III.   EPA’s Consideration of PPE is Based on Misunderstandings of
             Employer Obligations under the Occupational Safety and Health
             Act.

         In explaining why, in conducting its risk evaluations, it may consider evidence

that some workers may be “exposed due to the absence or ineffective use of personal

protective equipment,” EPA stated that:

         [W]orkers may be highly exposed because they are not covered by
         [OSHA] standards, their employers are out of compliance with OSHA
         standards, the PPE is not sufficient to address the risk from the
         chemical, or their PPE does not fit or function properly.

Revised Framework Rule, 89 Fed. Reg. at 37037. These statements suggest that EPA

understands OSHA regulations to impose some universal duty to provide PPE when

workers are exposed to a hazardous chemical at any exposure level and that



23
     NIOSH Methylene Chloride Comments, AR Ex. 0215 Att. 4 at 3.
24
     OSHA Methylene Choride Comments, AR Ex. 0215 Att. 3 at 5.
                                     28
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 39 of 64



risk results only when PPE is not provided or is used improperly. EPA has never

identified which OSHA standards impose such a duty because no OSHA standard

does so.

      When OSHA issues a standard to protect against chemical exposures, it sets a

permissible exposure limit (“PEL”), based not only on the agency’s assessment of

risk, but on considerations of technological and economic feasibility. Am. Textile

Mfrs. Inst., Inc. v. Donovan, 452 U.S. 490, 509 (1981); 29 U.S.C. § 655(b)(5) (OSHA

health standards must “assure[], to the extent feasible, . . . that no employee will

suffer material impairment of health”). Employers are then required to comply with

the PEL by following the hierarchy of controls, which—as explained earlier—

prioritizes elimination, substitution and engineering and work practice controls that

eliminate or minimize workplace exposures, permitting employers to resort to PPE

only when the more favored options prove inadequate to bring exposures to the PEL.

See, e.g., Steelworkers v. Marshall, 647 F.2d at 1271.

      The OSH Act requires employers to comply with OSHA standards, but not to

exceed them.25 OSHA standards therefore do not require employers to implement


25
   29 U.S.C § 654(a)(2) (employers “shall comply with [OSHA’s] occupational
safety and health standards”); see also OSHA Methylene Chloride Rule, 62 Fed.
Reg. at 1581 (requiring the use of respirators “only if occupational exposures [to
methylene chloride] . . . are likely to exceed the . . . PEL”); Seward Ship’s Drydock,
937 F.3d at 1306 (interpreting OSHA’s respirator standard, 29 C.F.R. § 1910.134, as
requiring protection only when exposures exceed permissible levels).

                                         29
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024   Page 40 of 64



any controls—PPE or otherwise—to bring exposures below the PEL. As OSHA

informed EPA, OSHA air contaminant standards require employers to implement

control measures to “prevent employee exposure to air contaminants from exceeding

the prescribed limits” in those standards.”26

      Where no OSHA standard exists, the statute’s “general duty clause” requires

employers to provide a workplace free from “recognized hazards.”27 In the absence

of a permissible exposure limit, however, OSHA has rarely—if ever—used the

general duty clause to require employers to control exposures to a specific level.28



26
   OSHA HBCD Comments, AR Ex. 0215 Att. 3 at 1. See also, OSHA Methylene
Chloride Comments, AR Ex. 0215 Att. 6 at 1 (“It is important to note that respirators
are required only when concentrations will exceed the [OSHA] PEL.”)
27
   29 U.S.C. § 654(a)(1) (employers must provide each employee “employment and
a place of employment which are free from recognized hazards that are causing or
are likely to cause death or serious physical harm”). The general duty clause does
not set across-the-board requirements that employers must adopt. See EPA, NPRM,
“Carbon Tetrachloride (CTC); Regulation Under the Toxic Substances Control Act,”
88 Fed. Reg. 49180, 49184 (July 28, 2023). EPA has correctly identified many
obstacles OSHA would face if it tried to rely on the general duty clause to force
reductions in chemical exposures. EPA, NPRM, “Methylene Chloride: Regulation
under the Toxic Substances Control Act (TSCA)),” 88 Fed. Reg. 28284, 28288 (May
3, 2023).
28
   Under limited circumstances, OSHA has the authority to use the general duty
clause to require employers to control exposures below an established PEL. See Int’l
Union, UAW v. Gen. Dynamics Land Sys. Div., 815 F.2d 1570 (D.C. Cir. 1987). To
do so, however, OSHA must establish actual employer knowledge that the standard
was inadequate to protect employees from death or serious physical harm. Id.; see
also OSHA Field Operations Manual, Chapter 4, Section II.D.2 (2022), available at
https://www.osha.gov/fom/chapter-4#general-duty
                                         30
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024   Page 41 of 64



As California’s OSHA program informed EPA in commenting on the Agency’s

assumptions about PPE use in its risk evaluation for NMP:

      When assuming workers use respirators, EPA failed to take into account
      that OSHA has no PEL to protect workers against the adverse health
      effects of NMP. As a result, there is no express requirement in federal
      law for employers to establish a respiratory protection program to
      reduce worker exposures to NMP to below a certain level or to provide
      respirators.

      Employers are highly unlikely to institute a respiratory protection
      program without an express requirement, due to the effort necessary to
      establish such a program.

Comment of California Department of Public Health/Occupational Health

Branch, AR Ex. 0206.

      Nor does OSHA’s Respiratory Protection Standard impose a duty on

employers to provide respirators at all levels of exposure to a hazardous chemical.

That standard requires employers, “[w]hen effective engineering controls are not

feasible,” to provide a respirator “to each employee when such equipment is

necessary to protect the health of such employee.” 29 C.F.R. § 1910.134(a)(1)–(2).

      EPA’s apparent assumption that the respirator standard requires employers to

provide effective protection to the levels EPA considers as posing unreasonable risk

is incorrect. 29 When OSHA initially proposed its respiratory protection standard,


29
     OSHA’s PELs are all likely to be much higher than levels at which EPA
determines chemicals to pose unreasonable risks, since—unlike EPA—OSHA

                                        31
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 42 of 64



the standard would have required employers to implement the hierarchy of controls,

even if OSHA had not adopted a PEL for a chemical, if exposures exceeded either a

NIOSH Recommended Exposure Limit (REL), an American Conference of

Government Industrial Hygienists (ACGIH) Threshold Limit Value (TLV) or “any

exposure level based on available scientific information, including Material Safety

Data Sheets.” OSHA, “Respiratory Protection,” 63 Fed. Reg. 1152, 1183 (Jan. 8,

1998) (emphasis added). Had OSHA adopted this proposal, an EPA determination

of unreasonable risk might have triggered a duty to comply with OSHA’s respiratory

protection standard.

      But OSHA did not adopt the proposal and made clear that the standard “does

not identify the ACGIH TLVs or the NIOSH RELs as references that would trigger

required respirator use.” Id. Since OSHA considered and rejected an approach that

would have triggered the respirator standard based on “available scientific

information,” such as an EPA finding of unreasonable risk, EPA’s assumption that




standards are restricted by feasibility considerations and, as EPA acknowledges,
most are sorely outdated. In fact, EPA has recognized that there is a gulf between the
level at which OSHA regulates exposures and level at which EPA must regulate
under TSCA. See, e.g., EPA, NPRM, “Trichloroethylene (TCE); Regulation Under
the Toxic Substances Control Act (TSCA),” 88 Fed. Reg. 74712, 74719 (Oct. 31,
2023) (EPA believes that OSHA chemical standards would in general be unlikely to
address unreasonable risk within the meaning of TSCA).


                                         32
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024    Page 43 of 64



the respirator standard might apply is plainly wrong—and OSHA has told EPA as

much.30

        In short, to the extent EPA is proceeding from an assumption that OSHA

standards impose an obligation on employers to provide respirators to protect their

employees from all levels of exposure to a toxic chemical, and harmful exposures

will only occur “when workers are exposed due to the absence or ineffective use of”

PPE, those assumptions lack evidentiary basis, and are, in fact, simply incorrect.

        IV.   PPE Use May Be Considered During Risk Management.

        We have no doubt that some employers voluntarily provide respirators to

workers at exposure levels below OSHA PELs. While these efforts are

commendable, such policies by individual employers do not protect all workers.

Moreover, they are voluntary, not mandatory. EPA has repeatedly noted that “it does

not question public comments” indicating some employers have reduced exposures

to levels below the OSHA PEL, but that observation is meaningless from either a

risk evaluation or regulatory perspective. EPA cannot meet the requirements of

TSCA section 6—to evaluate hazard and exposure —by pointing to unenforceable,

voluntary efforts by some, but not all, employers. Cf. Steelworkers v. Marshall, 647

F.2d at 1265 n.106 (recognizing that while many employers do more than necessary




30
     OSHA HBCD Comments, AR Ex. 0215 Att. 3 at 1.
                                   33
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 44 of 64



to protect workers, mandatory requirements prevent employers who do not from

gaining a competitive advantage).

      Labor Petitioners believe that EPA can, and should, use “reasonably available

information” about engineering and work practice controls, as well as documented

PPE use, in making its risk management decisions. Data on employer practices can

inform EPA decisions about what technology is available and what reductions in

exposure the technology can feasibly accomplish. While EPA can reasonably point

to “employer best practices” during risk management to show the efficacy of its

proposed workplace chemical protection programs—and indeed, employers that are

already voluntarily implementing effective controls should have little to do to

comply with EPA’s risk management rules—information on employer best practices

should play no role in risk evaluation.

                                   CONCLUSION

      As we have detailed above, EPA’s reservation of the right to consider PPE use

in determining whether a toxic substance poses an unreasonable risk to workers

violates TSCA’s instruction that EPA make this determination without considering

“nonrisk factors” and is inconsistent with the “best available science” and well-

established public health principles. Furthermore, EPA’s views about PPE use

appear to rely on a misunderstanding of the requirements of OSHA standards. For

all of these reasons, this Court should declare invalid the first sentence of 40 C.F.R.

                                          34
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024   Page 45 of 64



§ 702.39(f)(2), the provision of the Revised Framework Rule that permits EPA to

consider the effect of respirators or other PPE during risk evaluation and hold that

EPA may only consider the role of PPE during risk-management rulemaking.



                                Respectfully submitted,

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                                        35
USCA Case #24-1151      Document #2079317          Filed: 10/10/2024   Page 46 of 64



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      This brief complies with the type-volume limitation of Federal Rule of

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 Dated: October 10, 2024
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USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 47 of 64



                         CERTIFICATE OF SERVICE

      I hereby certify that I e-filed the foregoing with the Clerk of the Court for the

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USCA Case #24-1151   Document #2079317   Filed: 10/10/2024   Page 48 of 64




                       STATUTORY ADDENDUM
USCA Case #24-1151        Document #2079317          Filed: 10/10/2024    Page 49 of 64



                    TOXIC SUBSTANCES CONTROL ACT


Section 3, § 2602 – Definitions
(12) The term “potentially exposed or susceptible subpopulation” means a group of
individuals within the general population identified by the Administrator who, due
to either greater susceptibility or greater exposure, may be at greater risk than the
general population of adverse health effects from exposure to a chemical
substance or mixture, such as infants, children, pregnant women, workers, or the
elderly.


Section 6, § 2605. Prioritization, risk evaluation, and regulation of chemical
substances and mixtures
(a) Scope of regulation
If the Administrator determines in accordance with subsection (b)(4)(A) that the
manufacture, processing, distribution in commerce, use, or disposal of a chemical
substance or mixture, or that any combination of such activities, presents an
unreasonable risk of injury to health or the environment, the Administrator shall by
rule and subject to section 2617 of this title, and in accordance with subsection
(c)(2), apply one or more of the following requirements to such substance or
mixture to the extent necessary so that the chemical substance or mixture no longer
presents such risk:
       (1) A requirement (A) prohibiting or otherwise restricting the manufacturing,
processing, or distribution in commerce of such substance or mixture, or (B)
limiting the amount of such substance or mixture which may be manufactured,
processed, or distributed in commerce.
      (2) A requirement-
             (A) prohibiting or otherwise restricting the manufacture, processing,
      or distribution in commerce of such substance or mixture for (i) a particular
      use or (ii) a particular use in a concentration in excess of a level specified by
      the Administrator in the rule imposing the requirement, or
           (B) limiting the amount of such substance or mixture which may be
      manufactured, processed, or distributed in commerce for (i) a particular use

                                          1
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024     Page 50 of 64



      or (ii) a particular use in a concentration in excess of a level specified by the
      Administrator in the rule imposing the requirement.
      (3) A requirement that such substance or mixture or any article containing
such substance or mixture be marked with or accompanied by clear and adequate
minimum warnings and instructions with respect to its use, distribution in
commerce, or disposal or with respect to any combination of such activities. The
form and content of such minimum warnings and instructions shall be prescribed
by the Administrator.
       (4) A requirement that manufacturers and processors of such substance or
mixture make and retain records of the processes used to manufacture or process
such substance or mixture or monitor or conduct tests which are reasonable and
necessary to assure compliance with the requirements of any rule applicable under
this subsection.
      (5) A requirement prohibiting or otherwise regulating any manner or method
of commercial use of such substance or mixture.
      (6)
            (A) A requirement prohibiting or otherwise regulating any manner or
      method of disposal of such substance or mixture, or of any article containing
      such substance or mixture, by its manufacturer or processor or by any other
      person who uses, or disposes of, it for commercial purposes.
             (B) A requirement under subparagraph (A) may not require any person
      to take any action which would be in violation of any law or requirement of,
      or in effect for, a State or political subdivision, and shall require each person
      subject to it to notify each State and political subdivision in which a required
      disposal may occur of such disposal.
      (7) A requirement directing manufacturers or processors of such substance or
mixture
             (A) to give notice of such determination to distributors in commerce
      of such substance or mixture and, to the extent reasonably ascertainable, to
      other persons in possession of such substance or mixture or exposed to such
      substance or mixture,
            (B) to give public notice of such determination, and


                                          2
USCA Case #24-1151     Document #2079317           Filed: 10/10/2024   Page 51 of 64



            (C) to replace or repurchase such substance or mixture as elected by
      the person to which the requirement is directed.
      Any requirement (or combination of requirements) imposed under this
subsection may be limited in application to specified geographic areas.
(b) Risk evaluations
      (1) Prioritization for risk evaluations
            (A) Establishment of process
      Not later than 1 year after June 22, 2016, the Administrator shall establish,
      by rule, a risk-based screening process, including criteria for designating
      chemical substances as high-priority substances for risk evaluations or low-
      priority substances for which risk evaluations are not warranted at the time.
      The process to designate the priority of chemical substances shall include a
      consideration of the hazard and exposure potential of a chemical substance
      or a category of chemical substances (including consideration of persistence
      and bioaccumulation, potentially exposed or susceptible subpopulations and
      storage near significant sources of drinking water), the conditions of use or
      significant changes in the conditions of use of the chemical substance, and
      the volume or significant changes in the volume of the chemical substance
      manufactured or processed.
            (B) Identification of priorities for risk evaluation
            (i) High-priority substances
             The Administrator shall designate as a high-priority substance a
      chemical substance that the Administrator concludes, without consideration
      of costs or other nonrisk factors, may present an unreasonable risk of injury
      to health or the environment because of a potential hazard and a potential
      route of exposure under the conditions of use, including an unreasonable risk
      to a potentially exposed or susceptible subpopulation identified as relevant
      by the Administrator.
            (ii) Low-priority substances
             The Administrator shall designate a chemical substance as a low-
      priority substance if the Administrator concludes, based on information
      sufficient to establish, without consideration of costs or other nonrisk

                                        3
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024   Page 52 of 64



      factors, that such substance does not meet the standard identified in clause
      (i) for designating a chemical substance a high-priority substance.
            (C) Information request and review and proposed and final
      prioritization designation
      The rulemaking required in subparagraph (A) shall ensure that the time
      required to make a priority designation of a chemical substance be no shorter
      than nine months and no longer than 1 year, and that the process for such
      designations includes-
             (i) a requirement that the Administrator request interested persons to
      submit relevant information on a chemical substance that the Administrator
      has initiated the prioritization process on, before proposing a priority
      designation for the chemical substance, and provide 90 days for such
      information to be provided;
            (ii) a requirement that the Administrator publish each proposed
      designation of a chemical substance as a high- or low-priority substance,
      along with an identification of the information, analysis, and basis used to
      make the proposed designations, and provide 90 days for public comment on
      each such proposed designation; and
              (iii) a process by which the Administrator may extend the deadline in
      clause (i) for up to three months in order to receive or evaluate information
      required to be submitted in accordance with section 2603(a)(2)(B) of this
      title, subject to the limitation that if the information available to the
      Administrator at the end of such an extension remains insufficient to enable
      the designation of the chemical substance as a low-priority substance, the
      Administrator shall designate the chemical substance as a high-priority
      substance.
     (2) Initial risk evaluations and subsequent designations of high- and
low-priority substances
            (A) Initial risk evaluations
      Not later than 180 days after June 22, 2016, the Administrator shall ensure
      that risk evaluations are being conducted on 10 chemical substances drawn
      from the 2014 update of the TSCA Work Plan for Chemical Assessments and
      shall publish the list of such chemical substances during the 180 day period.

                                           4
USCA Case #24-1151     Document #2079317           Filed: 10/10/2024    Page 53 of 64



            (B) Additional risk evaluations
      Not later than three and one half years after June 22, 2016, the Administrator
      shall ensure that risk evaluations are being conducted on at least 20 high-
      priority substances and that at least 20 chemical substances have been
      designated as low-priority substances, subject to the limitation that at least
      50 percent of all chemical substances on which risk evaluations are being
      conducted by the Administrator are drawn from the 2014 update of the
      TSCA Work Plan for Chemical Assessments.
            (C) Continuing designations and risk evaluations
      The Administrator shall continue to designate priority substances and
      conduct risk evaluations in accordance with this subsection at a pace
      consistent with the ability of the Administrator to complete risk evaluations
      in accordance with the deadlines under paragraph (4)(G).
            (D) Preference
      In designating high-priority substances, the Administrator shall give
      preference to-
            (i) chemical substances that are listed in the 2014 update of the TSCA
      Work Plan for Chemical Assessments as having a Persistence and
      Bioaccumulation Score of 3; and
            (ii) chemical substances that are listed in the 2014 update of the TSCA
      Work Plan for Chemical Assessments that are known human carcinogens
      and have high acute and chronic toxicity.
            (E) Metals and metal compounds
      In identifying priorities for risk evaluation and conducting risk evaluations
      of metals and metal compounds, the Administrator shall use the Framework
      for Metals Risk Assessment of the Office of the Science Advisor, Risk
      Assessment Forum, and dated March 2007, or a successor document that
      addresses metals risk assessment and is peer reviewed by the Science
      Advisory Board.




                                         5
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 54 of 64



      (3) Initiation of risk evaluations; designations
            (A) Risk evaluation initiation
      Upon designating a chemical substance as a high-priority substance, the
      Administrator shall initiate a risk evaluation on the substance.
            (B) Revision
      The Administrator may revise the designation of a low-priority substance
      based on information made available to the Administrator.
            (C) Ongoing designations
      The Administrator shall designate at least one high-priority substance upon
      the completion of each risk evaluation (other than risk evaluations for
      chemical substances designated under paragraph (4)(C)(ii)).
      (4) Risk evaluation process and deadlines
            (A) In general
      The Administrator shall conduct risk evaluations pursuant to this paragraph
      to determine whether a chemical substance presents an unreasonable risk of
      injury to health or the environment, without consideration of costs or other
      nonrisk factors, including an unreasonable risk to a potentially exposed or
      susceptible subpopulation identified as relevant to the risk evaluation by the
      Administrator, under the conditions of use.
      (B) Establishment of process
      Not later than 1 year after June 22, 2016, the Administrator shall establish,
      by rule, a process to conduct risk evaluations in accordance with
      subparagraph (A).
      (C) Requirement
      The Administrator shall conduct and publish risk evaluations, in accordance
      with the rule promulgated under subparagraph (B), for a chemical substance-
            (i) that has been identified under paragraph (2)(A) or designated under
      paragraph (1)(B)(i); and
            (ii) subject to subparagraph (E), that a manufacturer of the chemical
      substance has requested, in a form and manner and using the criteria

                                         6
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024   Page 55 of 64



      prescribed by the Administrator in the rule promulgated under subparagraph
      (B), be subjected to a risk evaluation.
      (D) Scope
      The Administrator shall, not later than 6 months after the initiation of a risk
      evaluation, publish the scope of the risk evaluation to be conducted,
      including the hazards, exposures, conditions of use, and the potentially
      exposed or susceptible subpopulations the Administrator expects to consider,
      and, for each designation of a high-priority substance, ensure not less than
      12 months between the initiation of the prioritization process for the
      chemical substance and the publication of the scope of the risk evaluation
      for the chemical substance, and for risk evaluations conducted on chemical
      substances that have been identified under paragraph (2)(A) or selected
      under subparagraph (E)(iv)(II) of this paragraph, ensure not less than 3
      months before the Administrator publishes the scope of the risk evaluation.
      (E) Limitation and criteria
            (i) Percentage requirements
      The Administrator shall ensure that, of the number of chemical substances
      that undergo a risk evaluation under clause (i) of subparagraph (C), the
      number of chemical substances undergoing a risk evaluation under clause
      (ii) of subparagraph (C) is-
                  (I) not less than 25 percent, if sufficient requests are made
            under clause (ii) of subparagraph (C); and
                   (II) not more than 50 percent.
            (ii) Requested risk evaluations
      Requests for risk evaluations under subparagraph (C)(ii) shall be subject to
      the payment of fees pursuant to section 2625(b) of this title, and the
      Administrator shall not expedite or otherwise provide special treatment to
      such risk evaluations.
            (iii) Preference
      In deciding whether to grant requests under subparagraph (C)(ii), the
      Administrator shall give preference to requests for risk evaluations on
      chemical substances for which the Administrator determines that restrictions

                                         7
USCA Case #24-1151         Document #2079317            Filed: 10/10/2024   Page 56 of 64


         imposed by 1 or more States have the potential to have a significant impact
         on interstate commerce or health or the environment.
               (iv) Exceptions
                       (I) Chemical substances for which requests have been granted
               under subparagraph (C)(ii) shall not be subject to section 2617(b) of
               this title.
                     (II) Requests for risk evaluations on chemical substances which
               are made under subparagraph (C)(ii) and that are drawn from the 2014
               update of the TSCA Work Plan for Chemical Assessments shall be
               granted at the discretion of the Administrator and not be subject to
               clause (i)(II).
         (F) Requirements
         In conducting a risk evaluation under this subsection, the Administrator
shall-
               (i) integrate and assess available information on hazards and
         exposures for the conditions of use of the chemical substance, including
         information that is relevant to specific risks of injury to health or the
         environment and information on potentially exposed or susceptible
         subpopulations identified as relevant by the Administrator;
               (ii) describe whether aggregate or sentinel exposures to a chemical
         substance under the conditions of use were considered, and the basis for that
         consideration;
               (iii) not consider costs or other nonrisk factors;
               (iv) take into account, where relevant, the likely duration, intensity,
         frequency, and number of exposures under the conditions of use of the
         chemical substance; and
               (v) describe the weight of the scientific evidence for the identified
         hazard and exposure.
         (G) Deadlines
         The Administrator-



                                            8
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024    Page 57 of 64



             (i) shall complete a risk evaluation for a chemical substance as soon as
      practicable, but not later than 3 years after the date on which the
      Administrator initiates the risk evaluation under subparagraph (C); and
           (ii) may extend the deadline for a risk evaluation for not more than 6
      months.
      (H) Notice and comment
      The Administrator shall provide no less than 30 days public notice and an
      opportunity for comment on a draft risk evaluation prior to publishing a final
      risk evaluation.
(c) Promulgation of subsection (a) rules
      (1) Deadlines
If the Administrator determines that a chemical substance presents an unreasonable
risk of injury to health or the environment in accordance with subsection (b)(4)(A),
the Administrator-
      (A) shall propose in the Federal Register a rule under subsection (a) for the
      chemical substance not later than 1 year after the date on which the final risk
      evaluation regarding the chemical substance is published;
      (B) shall publish in the Federal Register a final rule not later than 2 years
      after the date on which the final risk evaluation regarding the chemical
      substance is published; and
      (C) may extend the deadlines under this paragraph for not more than 2 years,
      subject to the condition that the aggregate length of extensions under this
      subparagraph and subsection (b)(4)(G)(ii) does not exceed 2 years, and
      subject to the limitation that the Administrator may not extend a deadline for
      the publication of a proposed or final rule regarding a chemical substance
      drawn from the 2014 update of the TSCA Work Plan for Chemical
      Assessments or a chemical substance that, with respect to persistence and
      bioaccumulation, scores high for 1 and either high or moderate for the other,
      pursuant to the TSCA Work Plan Chemicals Methods Document published
      by the Administrator in February 2012 (or a successor scoring system),
      without adequate public justification that demonstrates, following a review
      of the information reasonably available to the Administrator, that the


                                          9
USCA Case #24-1151     Document #2079317            Filed: 10/10/2024    Page 58 of 64



      Administrator cannot complete the proposed or final rule without additional
      information regarding the chemical substance.
      (2) Requirements for rule
      (A) Statement of effects
      In proposing and promulgating a rule under subsection (a) with respect to a
      chemical substance or mixture, the Administrator shall consider and publish
      a statement based on reasonably available information with respect to-
            (i) the effects of the chemical substance or mixture on health and the
      magnitude of the exposure of human beings to the chemical substance or
      mixture;
            (ii) the effects of the chemical substance or mixture on the
      environment and the magnitude of the exposure of the environment to such
      substance or mixture;
            (iii) the benefits of the chemical substance or mixture for various uses;
      and
            (iv) the reasonably ascertainable economic consequences of the rule,
      including consideration of-
                   (I) the likely effect of the rule on the national economy, small
            business, technological innovation, the environment, and public
            health;
                   (II) the costs and benefits of the proposed and final regulatory
            action and of the 1 or more primary alternative regulatory actions
            considered by the Administrator; and
                  (III) the cost effectiveness of the proposed regulatory action
            and of the 1 or more primary alternative regulatory actions considered
            by the Administrator.
      (B) Selecting requirements
      In selecting among prohibitions and other restrictions, the Administrator
      shall factor in, to the extent practicable, the considerations under
      subparagraph (A) in accordance with subsection (a).



                                         10
USCA Case #24-1151      Document #2079317           Filed: 10/10/2024    Page 59 of 64



      (C) Consideration of alternatives
      Based on the information published under subparagraph (A), in deciding
      whether to prohibit or restrict in a manner that substantially prevents a
      specific condition of use of a chemical substance or mixture, and in setting
      an appropriate transition period for such action, the Administrator shall
      consider, to the extent practicable, whether technically and economically
      feasible alternatives that benefit health or the environment, compared to the
      use so proposed to be prohibited or restricted, will be reasonably available as
      a substitute when the proposed prohibition or other restriction takes effect.
      (D) Replacement parts
            (i) In general
             The Administrator shall exempt replacement parts for complex
      durable goods and complex consumer goods that are designed prior to the
      date of publication in the Federal Register of the rule under subsection (a),
      unless the Administrator finds that such replacement parts contribute
      significantly to the risk, identified in a risk evaluation conducted under
      subsection (b)(4)(A), to the general population or to an identified potentially
      exposed or susceptible subpopulation.
            (ii) Definitions
      In this subparagraph-
                  (I) the term "complex consumer goods" means electronic or
            mechanical devices composed of multiple manufactured components,
            with an intended useful life of 3 or more years, where the product is
            typically not consumed, destroyed, or discarded after a single use, and
            the components of which would be impracticable to redesign or
            replace; and
                  (II) the term "complex durable goods" means manufactured
            goods composed of 100 or more manufactured components, with an
            intended useful life of 5 or more years, where the product is typically
            not consumed, destroyed, or discarded after a single use.




                                         11
USCA Case #24-1151       Document #2079317            Filed: 10/10/2024    Page 60 of 64


       (E) Articles
       In selecting among prohibitions and other restrictions, the Administrator
       shall apply such prohibitions or other restrictions to an article or category of
       articles containing the chemical substance or mixture only to the extent
       necessary to address the identified risks from exposure to the chemical
       substance or mixture from the article or category of articles so that the
       substance or mixture does not present an unreasonable risk of injury to
       health or the environment identified in the risk evaluation conducted in
       accordance with subsection (b)(4)(A).
       (3) Procedures
       When prescribing a rule under subsection (a) the Administrator shall proceed
       in accordance with section 553 of title 5 (without regard to any reference in
       such section to sections 556 and 557 of such title), and shall also-
       (A) publish a notice of proposed rulemaking stating with particularity the
       reason for the proposed rule;
       (B) allow interested persons to submit written data, views, and arguments,
       and make all such submissions publicly available;
       (C) promulgate a final rule based on the matter in the rulemaking record;
and
       (D) make and publish with the rule the determination described in subsection
(a).

(d) Effective date
       (1) In general.-In any rule under subsection (a), the Administrator shall-
       (A) specify the date on which it shall take effect, which date shall be as soon
       as practicable;
       (B) except as provided in subparagraphs (C) and (D), specify mandatory
       compliance dates for all of the requirements under a rule under subsection
       (a), which shall be as soon as practicable, but not later than 5 years after the
       date of promulgation of the rule, except in a case of a use exempted under
       subsection (g);


                                           12
USCA Case #24-1151      Document #2079317            Filed: 10/10/2024   Page 61 of 64



      (C) specify mandatory compliance dates for the start of ban or phase-out
      requirements under a rule under subsection (a), which shall be as soon as
      practicable, but not later than 5 years after the date of promulgation of the
      rule, except in the case of a use exempted under subsection (g);
      (D) specify mandatory compliance dates for full implementation of ban or
      phase-out requirements under a rule under subsection (a), which shall be as
      soon as practicable; and
      (E) provide for a reasonable transition period.
       (2) Variability.-As determined by the Administrator, the compliance dates
established under paragraph (1) may vary for different affected persons.
      (3)(A) The Administrator may declare a proposed rule under subsection (a)
      to be effective, and compliance with the proposed requirements to be
      mandatory, upon publication in the Federal Register of the proposed rule and
      until the compliance dates applicable to such requirements in a final rule
      promulgated under section 2605(a) of this title or until the Administrator
      revokes such proposed rule, in accordance with subparagraph (B), if-
            (i) the Administrator determines that-
                   (I) the manufacture, processing, distribution in commerce, use,
            or disposal of the chemical substance or mixture subject to such
            proposed rule or any combination of such activities is likely to result
            in an unreasonable risk of serious or widespread injury to health or the
            environment before such effective date without consideration of costs
            or other non-risk factors; and
                  (II) making such proposed rule so effective is necessary to
            protect the public interest; and
             (ii) in the case of a proposed rule to prohibit the manufacture,
      processing, or distribution of a chemical substance or mixture because of the
      risk determined under clause (i)(I), a court has in an action under section
      2606 of this title granted relief with respect to such risk associated with such
      substance or mixture.
      Such a proposed rule which is made so effective shall not, for purposes of
      judicial review, be considered final agency action.


                                         13
USCA Case #24-1151        Document #2079317          Filed: 10/10/2024   Page 62 of 64



       (B) If the Administrator makes a proposed rule effective upon its publication
       in the Federal Register, the Administrator shall, as expeditiously as possible,
       give interested persons prompt notice of such action in accordance with
       subsection (c), and either promulgate such rule (as proposed or with
       modifications) or revoke it.
[subsections (e), Polychlorinated biphenyls; (f) Mercury; (g) Exemptions; and
(h) Chemicals that are persistent, bioaccumulative, and toxic omitted]
(i) Final agency action
Under this section and subject to section 2617 of this title-
       (1) a determination by the Administrator under subsection (b)(4)(A) that a
chemical substance does not present an unreasonable risk of injury to health or the
environment shall be issued by order and considered to be a final agency action,
effective beginning on the date of issuance of the order; and
       (2) a final rule promulgated under subsection (a), including the associated
determination by the Administrator under subsection (b)(4)(A) that a chemical
substance presents an unreasonable risk of injury to health or the environment,
shall be considered to be a final agency action, effective beginning on the date of
promulgation of the final rule.
(j) Definition
For the purposes of this chapter, the term "requirement" as used in this section shall
not displace statutory or common law.


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Section 26, 15 U.S.C. § 2625 – Administration
(h) Scientific standards.
In carrying out sections 2603, 2604, and 2605 of this title, to the extent that
the Administrator makes a decision based on science, the Administrator shall use
scientific information, technical procedures, measures, methods, protocols,
methodologies, or models, employed in a manner consistent with the best available
science, and shall consider as applicable—



                                           14
USCA Case #24-1151       Document #2079317           Filed: 10/10/2024    Page 63 of 64



      (1) the extent to which the scientific information, technical procedures,
measures, methods, protocols, methodologies, or models employed to generate the
information are reasonable for and consistent with the intended use of the
information;
       (2) the extent to which the information is relevant for the Administrator’s
use in making a decision about a chemical substance or mixture;
     (3) the degree of clarity and completeness with which the data, assumptions,
methods, quality assurance, and analyses employed to generate the information are
documented;
       (4) the extent to which the variability and uncertainty in the information, or
in the procedures, measures, methods, protocols, methodologies, or models, are
evaluated and characterized; and
       (5) the extent of independent verification or peer review of the information
or of the procedures, measures, methods, protocols, methodologies, or models.


                OCCUPATIONAL SAFETY AND HEALTH ACT
Section 5(a), 29 U.S.C. § 655(a) – Duties of Employers
(a) Each employer—
      (1) shall furnish to each of his employees employment and a place of
employment which are free from recognized hazards that are causing or are likely
to cause death or serious physical harm to his employees;
      (2) shall comply with occupational safety and health standards promulgated
under this chapter.
Section 6(b)(5), 29 U.S.C. § 655(b)(5) –
 (b) Procedure for promulgation, modification, or revocation of standards
The Secretary may by rule promulgate, modify, or revoke any occupational safety
or health standard in the following manner:
      ***
     (5) The Secretary, in promulgating standards dealing with toxic materials or
harmful physical agents under this subsection, shall set the standard which most

                                           15
USCA Case #24-1151       Document #2079317             Filed: 10/10/2024     Page 64 of 64



adequately assures, to the extent feasible, on the basis of the best available
evidence, that no employee will suffer material impairment of health or functional
capacity even if such employee has regular exposure to the hazard dealt with by
such standard for the period of his working life. Development of standards under
this subsection shall be based upon research, demonstrations, experiments, and
such other information as may be appropriate. In addition to the attainment of the
highest degree of health and safety protection for the employee, other
considerations shall be the latest available scientific data in the field, the feasibility
of the standards, and experience gained under this and other health and safety laws.
Whenever practicable, the standard promulgated shall be expressed in terms of
objective criteria and of the performance desired.




                                            16
